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Attorneys for Defendant

Dillon Danis
UNITED STATES DISTRICT COURT
NINA AGDAL, FOR THE DISTRICT OF NEW JERSEY
Plaintiff, Civil No. 23-16873 (MCA)
- VS —
NOTICE OF WITHDRAWAL
DILLON DANIS, OF MOTION TO
WITHDRAW AS COUNSEL
Defendant.

Counsel for Defendant DILLON DANIS hereby voluntarily withdraws counsel’s motion

for leave to withdraw as counsel

Dated: October 16, 2024
